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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SOLAX ENERGIA ALTIPLANO
S.A. DE. C.V. and SOLAX ENERGY LLC,

 

 

ORDER

Plaintiff, 21 Civ. 863 (GBD)

-against-

 

ITHUBA CREDIT CORPORATION, ITHUBA
SAVINGS AND CREDIT, ITHUBA INVESTMENT
BANK AND STATUTORY TRUST, ITHUBA
BUSINESS ADVISORY SERVICES INC., ITHUBA
HOLDINGS INC., ISCC GROUP OF COMPANIES,
JEAN BILALA, AND PAUL MALEKA SEFUDI,

Defendants.
GEORGE B. DANIELS, United States District Judge:
For the reasons stated on the record at oral argument on November 17, 2021, Defendants’
motion to dismiss the Complaint, (ECF No. 36), is DENIED without prejudice to renew.
Defendants’ motion to strike the Declarations of Balvinder Singh and Jana S. Farmer, (ECF No.

60), is DENIED without prejudice to renew.

Plaintiffs’ request for jurisdictional discovery, (ECF No. 47), is GRANTED. Expedited

 

jurisdictional discovery shall be completed by March 1, 2021.
Within 30 days of the close of jurisdictional discovery Plaintiff may submit a letter

application for leave to amend the Complaint, attaching the proposed amended complaint, if

 

 
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amendment would not be futile. Defendants shall have two (2) weeks to oppose Plaintiffs’ letter

application.

The Clerk of Court is directed to close the motions at ECF Nos. 36 and 60, accordingly.

Dated: New York, New York
November 17, 2021
SO ERED.

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GE@RGE B} DANIELS
United States District Judge

 

 
